                                   IN THE
             ARIZONA COURT OF APPEALS
                               DIVISION ONE




          IN RE DEPENDENCY AS TO G.K., L.K., C.K. and C.K.



                            No. 1 CA-JV 23-0135
                             FILED 08-27-2024


           Appeal from the Superior Court in Maricopa County
                         No. JD40644, JS21329
                The Honorable Michael J. Herrod, Judge

                           APPEAL DISMISSED


                              APPEARANCES

Allegra G., Phoenix
Appellant

H. Clark Jones, LLC, Mesa
By H. Clark Jones
Advisory Counsel for Appellant Allegra G.

Arizona Attorney General’s Office, Tucson
By Dawn R. Williams
Counsel for Appellee Department of Child Safety
                 IN RE DEPENDENCY AS TO G.K., et al.
                         Opinion of the Court



                                 OPINION

Judge Michael J. Brown delivered the opinion of the Court, in which
Presiding Judge Samuel A. Thumma and Judge Jennifer B. Campbell joined.


B R O W N, Judge:

¶1            Allegra G. (“Mother”) appeals from a June 2023 juvenile court
order reaffirming that her four minor children are dependent. The court
reaffirmed the children’s dependency in a December 2023 order. Because
that order necessarily replaces the June 2023 order, we dismiss Mother’s
appeal as moot.

                              BACKGROUND

¶2            In March 2021, one of Mother’s six biological children died
under mysterious circumstances at the age of 14. After an investigation
found that the children had never received any professional medical care,
dental care, or formal schooling, the Department of Child Safety (“DCS”)
petitioned for dependency, alleging Mother was unable to provide proper
or effective parental care and control for the children due to abuse, neglect,
and mental health concerns.

¶3            In June 2021, the juvenile court found the surviving children
dependent as to Mother and granted DCS legal custody. The court also
found the children were dependent as to Father, but he is no longer a party
to this appeal. This court affirmed that decision. Allegra G. v. Dep’t of Child
Safety, 1 CA-JV 21-0221, 2021 WL 5830199 (Ariz. App. Dec. 9, 2021) (mem.
decision).

¶4             At a July 2021 disposition hearing, the juvenile court adopted
a severance and adoption case plan and ordered DCS to expedite placing
the children with an out-of-state relative. DCS then placed the children in
the relative’s physical custody, while DCS retained legal custody. This
court affirmed that disposition order and an order denying Mother’s
request to place the children with a different relative. Allegra G. v. Dep’t of
Child Safety, 1 CA-JV 21-0260, 2022 WL 1043741 (Ariz. App. Apr. 7, 2022)
(mem. decision); Allegra G. v. Dep’t of Child Safety, 1 CA-CV 21-0445, 2022
WL 714422 (Ariz. App. Mar. 10, 2022) (mem. decision).




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                 IN RE DEPENDENCY AS TO G.K., et al.
                         Opinion of the Court

¶5           In August 2021, DCS moved to terminate Mother’s parental
rights based on neglect. At a December 2021 hearing, the juvenile court
affirmed the severance and adoption case plan and found the children
continued to be dependent. It also reaffirmed the children’s dependency at
a July 2022 hearing, and this court affirmed those orders. Allegra G.
&amp; Kasongo T. v. Dep’t of Child Safety, 1 CA-JV 22-0005, 2023 WL 2658031(Ariz. App. Mar. 28, 2023) (mem. decision).

¶6            At a January 2023 hearing, the juvenile court again reaffirmed
the children’s dependency, but the oldest child was dismissed from the
proceedings several weeks later when he turned 18 years old. Because the
relative could no longer care for the four youngest children, DCS relocated
them to Arizona in June 2023. At a hearing later in June, the court affirmed
the children’s dependency.

¶7            Mother timely appealed and initially sought to challenge five
rulings made by the juvenile court. This court issued an order limiting
Mother’s appeal to the June 2023 dependency reaffirmation because the
other rulings are non-appealable orders related to changing physical
custody, reasonable efforts to finalize the case plan, substitution of counsel,
and denial of a continuance. We have jurisdiction of Mother’s appeal of the
dependency reaffirmation under A.R.S. § 8-235(A). After Mother’s
appellate counsel certified that he had diligently searched the record and
found no non-frivolous issues to raise on appeal, Mother filed a pro se
opening brief. See Ariz. R.P. Juv. Ct. 607(e)(1)(B).

                               DISCUSSION

¶8           Mother argues the juvenile court erred when it reaffirmed the
children’s dependency in June 2023 because “no testimony was taken and
no evidence was admitted.” In response, DCS contends that Mother’s
appeal is moot based on the court’s dependency finding included in a
December 2023 minute entry, which DCS attached to its answering brief
without objection.

¶9            After a court determines that a child is dependent, it must
hold review hearings at least once every six months to review the parties’
progress in achieving case plan goals and to discern whether the child
continues to be dependent. A.R.S. § 8-847(A); Ariz. R.P. Juv. Ct. 341(a). A
child is dependent if the child is “[i]n need of proper and effective parental
care and control” and “has no parent or guardian willing to exercise or
capable of exercising such care and control.” A.R.S. § 8-201(15)(a)(i). DCS
must submit a report in advance of the review hearing, and “the court may



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                  IN RE DEPENDENCY AS TO G.K., et al.
                          Opinion of the Court

consider the oral or written reports of the parties, documents entered into
evidence at prior proceedings, documents agreed upon by the parties, and
any other reports pursuant to Rule 104.” Ariz. R.P. Juv. Ct. 341(c), (e)(1); see
also Dep’t of Child Safety v. Stocking-Tate, 247 Ariz. 108, 114, ¶ 14 (App. 2019)
(noting that orders entered after “review hearings may be informed by
additional reports, evidence, and testimony”). Any party who desires an
evidentiary hearing on any issue is required to file a motion requesting such
a hearing. Ariz. R.P. Juv. Ct. 341(d). Mother made no such motion here.

¶10           The juvenile court’s review process is necessarily cumulative
because the court “does not engage in a perpetual review of the same
evidence.” Stocking-Tate, 247 Ariz. at 114, ¶ 14. Instead, “each new order
necessarily replaces the last as the court gains information and
perspective.” Id.; see also Bennigno R. v. Ariz. Dep’t of Econ. Sec., 233 Ariz.
345, 349, ¶ 16 (App. 2013) (recognizing that child welfare considerations
“are rarely, if ever, static” and that “it is more likely that the child’s
environment is constantly evolving”) (citation omitted). Thus, in general,
appellate arguments challenging a juvenile court’s order become moot
when the court makes “new findings, based on the circumstances as they
exist today.” Brionna J. v. Dep’t of Child Safety, 247 Ariz. 346, 351, ¶ 17 (App.
2019).

¶11            Under Arizona Rule of Evidence 201, a court may take judicial
notice of its own records, and this court may “take judicial notice of
anything of which the trial court could take notice.” In re Sabino R., 198
Ariz. 424, 425, ¶ 4 (App. 2000). Here, Mother does not dispute that the
December 2023 minute entry provided by DCS, of which we take judicial
notice, states that the juvenile court “read and considered the DCS child
safety specialist’s report dated [November 9, 2023]” and found that “the
children continue to be dependent.” See Ariz. R. Evid. 201(c)(2) (stating that
a court “must take judicial notice if a party requests it and the court is
supplied with the necessary information”); (d) (“The court may take judicial
notice at any stage of the proceeding.”). Because the juvenile court
considered a more recent DCS child safety specialist’s report in reaching its
conclusion in the December 2023 minute entry, that ruling necessarily
replaces the prior dependency order. See Stocking-Tate, 247 Ariz. at 114,
¶ 14.

¶12            As a matter of judicial restraint, “we typically decline to
consider moot or abstract questions.” Kondaur Cap. Corp. v. Pinal Cnty., 235
Ariz. 189, 193, ¶ 8 (App. 2014). Generally, “when our action as a reviewing
court will have no effect on the parties,” we dismiss the appeal as moot.
Cardoso v. Soldo, 230 Ariz. 614, 617, ¶ 5 (App. 2012). Now that the December


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                IN RE DEPENDENCY AS TO G.K., et al.
                        Opinion of the Court

2023 order controls, Mother’s challenge to the June 2023 order is moot
because it has no effect on the parties, including Mother. On occasion, in
the exercise of our discretion we consider appeals that have become moot
when they “present an issue of great public importance or one capable of
repetition yet evading review.” Id. But neither factor is presented here.

                             CONCLUSION

¶13          Mother’s appeal is dismissed as moot.




                        AMY M. WOOD • Clerk of the Court
                        FILED: AGFV




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